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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

CHARLES SWIFT,

                 Plaintiff,                                8:23CV240

     vs.
                                              MEMORANDUM AND ORDER
TAYLOR MCHUGH,

                 Defendant.


      On January 14, 2025, the Court ordered Plaintiff to update his address
with the Court within 30 days or face dismissal of this action. Filing No. 9.
To date, Plaintiff has not updated his address or taken any other action in
this matter.
      IT IS THEREFORE ORDERED that: This matter is dismissed without
prejudice because Plaintiff failed to prosecute it diligently and failed to
comply with this Court’s orders. The Court will enter judgment by a separate
document.


      Dated this 28th day of February, 2025.


                                             BY THE COURT:


                                             _________________________________
                                             John M. Gerrard
                                             Senior United States District Judge
